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IN THE UNITED STATEs DISTRICT COURT
FOR THE wESTERN DISTRICT oF TENNESSEEU,.¢UL_5
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WILFREDO LORA,

 

Plaintiff,
vs. No. 04-2821-D/V
THOMAS HOLLENHORST ,
WILLIAM FITZPATRICK, and,
TIMOTHY MCGR.ANT ,

Defendants.

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ORDER DENYING MOTION TO EXPEDITE AS MOOT

 

By order entered May 31, 2004, this Court transferred this
irregular p;Q §§ complaint to the United States Court for the
Eastern District of Virginia. On June 6, 2004, the plaintiff
Wilfredo Lora, filed a “motion to expedite process” stating that he
served the defendants with notices of his lawsuit and requests for
waiver of service. The Court follows the procedure set for in the
administrative order of the United States Court of Appeals for the
Sixth Circuit which states:

[B]efore service of process is made on the opposing
parties, the district court must screen the case under
the criteria of 28 U.S.C.A. § 1915(e)(2) and 28 U.S.C.A.
§ 1915A. . . . Therefore, in prisoner cases, the district
court must first examine a complaint under § 1915A and
then review the complaint under § 1915(e)(2) before the
case may proceed in normal course. District courts are
required to screen all civil cases brought by prisoners,
regardless of whether the inmate paid the full filing
fee, is a pauper, is pro se, or is represented. by
counsel, as the statute does not differentiate between
civil actions brought by prisoners.

In Re Prison Litiqation Reform Act, 105 F.Bd 1131, 1131-33 (6th

Cir. 1997)(articulating how district courts should apply the PLRA).

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with Hu|s 58 and/or 79(3) FHCP on j

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Accordingly, screenimg of p;Q §§ complaints must occur before
process issues or service is effected. Any' delay' in issuing
process and effecting service in a case subject to screening is not
attributable to the plaintiff. Furthermore, as the Court had not
screened plaintiff's complaint at the time he attempted to effect
service upon the defendants, his service was premature and
improper. Furthermore, the motion is DENIED as moot, due to the
transfer~ of the case to the Eastern. District of Virginia, at

Alexandria.

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IT Is so oRDERED this 30 day of June, 2005.

 

 

DISTRIT COURT - WESTRNE ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02821 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Wilfredo G. Lora
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Honorable Bernice Donald
US DISTRICT COURT

